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    Proposed Counsel to the Debtors
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                            §
    In re:                                                  § Chapter 11
                                                            §
    COTTONWOOD FINANCIAL LTD., et al.,1                     § Case No. 24-80035 (SWE)
                                                            §
                   Debtors.                                 § (Jointly Administered)
                                                            §

       GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGIES,
            AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
       OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) hereby
file their Schedules of Assets and Liabilities (collectively with attachments, the “Schedules”) and
Statements of Financial Affairs (collectively with attachments, the “Statements,” and together with
the Schedules, the “Schedules and Statements”). The Schedules and Statements were prepared
pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”), rule 1007
of the Federal Rules of Bankruptcy Procedure, and rule 1007-1 of the Local Bankruptcy Rules of
the United States Bankruptcy Court for the Northern District of Texas by the Debtors with the
assistance of their advisors and are unaudited.

      These Global Notes and Statement of Limitations, Methodologies, and Disclaimers
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs

1
  The Debtors in these chapter 11 cases and the last four digits of each Debtors’ federal tax identification number are
as follows: Cottonwood Financial Ltd. (1001); Cottonwood Financial Administrative Services, LLC (7228);
Cottonwood Financial Texas, LLC (9059); Cottonwood Financial Idaho, LLC (“Cottonwood Idaho”) (5651);
Cottonwood Financial Wisconsin, LLC (“Cottonwood Wisconsin”) (7075). The Debtors’ principal offices are located
at 2100 W Walnut Hill Lane, Suite 300, Irving, TX 75038.



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(the “Global Notes”) pertain to, are incorporated by reference in, and constitute an integral part of
the Schedules and Statements. These Global Notes should be referred to, considered, and reviewed
in connection with any review of the Schedules and Statements. To the extent that the Schedules
and Statements conflict with these Global Notes, these Global Notes shall control.

        The Debtors and their professionals do not and cannot guarantee or warrant the accuracy
or completeness of the data that is provided herein and shall not be liable for any loss or injury
arising out of, or caused in whole or in part by, the acts, errors, or omissions in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. While diligent and reasonable efforts have been made to provide accurate and
complete information in the Schedules and Statements, inadvertent errors or omissions may exist.
In no event shall the Debtors or their professionals be liable to any third party for any direct,
indirect, incidental, consequential, or special damages (including, but not limited to, damages
arising from the disallowance of a potential claim against the Debtors or damages to business
reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
the Debtors or their professionals are advised of the possibility of such damages.

        These Global Notes are in addition to any specific notes contained in each Debtor’s
respective Schedules or Statements. Disclosure of information in one or more Schedules or
Statements, or one or more exhibits or attachments to the Schedules or Statements, even if
incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements, exhibits,
or attachments.

                           Global Notes and Overview of Methodology

1.       “As Of” Information Date. On February 25, 2024 (the “Petition Date”), each Debtor filed
         a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are
         operating as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
         Code.

         To the best of the Debtors’ knowledge, the information provided herein represents the asset
         and liability data of the Debtors as of the Petition Date, except as otherwise noted.
         Amounts ultimately realized may vary from net book value (or the applicable value
         ascribed herein) and such variance may be material. Accordingly, the Debtors reserve all
         rights to amend or adjust the value of each asset set forth herein. In addition, the amounts
         shown for total liabilities exclude items identified as “unknown,” “disputed,” “contingent,”
         “unliquidated,” or “undetermined,” and thus, ultimate liabilities may differ materially from
         those stated in the Schedules and Statements.

2.       Reservations and Limitations. Diligent and reasonable efforts have been made to prepare
         and file complete and accurate Schedules and Statements; however, as noted above,
         inadvertent errors or omissions may exist. The Debtors reserve all rights to: (a) amend
         and/or supplement the Schedules and Statements from time to time, in all respects, as may
         be necessary or appropriate, including, without limitation, amending the Schedules and
         Statements with respect to the description or designation of any claim (each, a “Claim”);
         (b) dispute or otherwise assert offsets or defenses to any Claim reflected in the Schedules
         and Statements as to amount, liability, priority, status, or classification; (c) subsequently


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         designate any Claim as “disputed,” “contingent,” or “unliquidated;” or (d) object to the
         extent, validity, enforceability, or priority of any Claim (regardless of whether such Claim
         is designated in the Schedules and Statement as “disputed,” “contingent,” or
         “unliquidated”).

         Notwithstanding the Debtors’ diligent and reasonable efforts to properly characterize,
         classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
         leases, and other items reported in the Schedules and Statements, the Debtors may
         nevertheless have inadvertently improperly characterized, classified, categorized,
         designated, or omitted certain items. Accordingly, the Debtors reserve their rights to
         recharacterize, reclassify, recategorize, redesignate, add, or delete items reported in the
         Schedules and Statements at a later time as is necessary or appropriate as additional
         information becomes available, including, without limitation, whether contracts or leases
         listed herein were deemed executory or unexpired as of the Petition Date and remain
         executory and unexpired postpetition.

         Furthermore, nothing contained in the Schedules and Statements constitutes a waiver of
         any of the Debtors’ rights or an admission of any kind with respect to these chapter 11
         cases, including any rights or Claims of the Debtors against any third party or issues
         involving Claims, substantive consolidation, equitable subordination, recharacterization,
         or defenses and/or causes of action arising under the provisions of chapter 5 of the
         Bankruptcy Code and any other relevant applicable bankruptcy or non-bankruptcy laws to
         recover assets or avoid transfers.

         Any specific reservation of rights contained elsewhere in the Global Notes does not limit
         in any respect the general reservation of rights contained in the above paragraphs, nor shall
         it otherwise infringe upon the Debtors’ rights to amend their Schedules and Statements at
         any time before these chapter 11 cases are closed, pursuant to Bankruptcy Rule 1009.

3.       Claims Description. Schedules D and E/F permit the Debtors to designate a Claim as
         “disputed,” “contingent,” and/or “unliquidated.”

                 A claim that is dependent on the realization of some uncertain future event is a
                 “contingent” claim.

                 A claim, or portion of a claim, for which a specific value could not be readily
                 quantified by the Debtor using currently available information is scheduled as
                 “unliquidated.”

                 A claim with respect to which the applicable Debtor and the claimant disagree as
                 to the amount owed, whether any amount is owed, or the claim classification, is
                 “disputed.”

         Any failure to designate a Claim in the Schedules and Statements as “disputed,”
         “contingent,” or “unliquidated” does not constitute an admission by the Debtors that such
         Claim or amount is not “disputed,” “contingent,” or “unliquidated,” or that such Claim is
         not subject to objection. The Debtors reserve all rights to dispute, or assert offsets or
         defenses to, any Claim reflected on their Schedules and Statements on any grounds,

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         including, but not limited to, amount, liability, priority, status, or classification.
         Additionally, the Debtors expressly reserve all rights to designate such Claims as
         “disputed,” “contingent,” or “unliquidated” at a later date. Moreover, listing a Claim does
         not constitute an admission of liability by the Debtors. The Debtors reserve all rights to
         amend the Schedules and Statement as necessary and appropriate, including, but not
         limited to, with respect to Claim description and designation.

4.       Basis of Presentation. Information contained in the Schedules and Statements has been
         derived from the information provided by the Debtors’ management. The Schedules and
         Statements have not been subject to procedures that would typically be applied to financial
         statements prepared in accordance with Generally Accepted Accounting Principles
         (“GAAP”) and are not intended to reconcile fully with any financial statements prepared
         under GAAP. Therefore, combining the assets and liabilities set forth in the Schedules and
         Statements would result in amounts that are substantially different from financial
         information that would otherwise be prepared under GAAP. To the extent that a Debtor
         shows more assets than liabilities, this is not an admission that the Debtor was solvent as
         of the Petition Date or at any time before the Petition Date. Likewise, to the extent a Debtor
         shows more liabilities than assets, this is not an admission that the Debtor was insolvent at
         the Petition Date or any time before the Petition Date. For the avoidance of doubt, nothing
         contained in the Schedules and Statement is indicative of the Debtors’ enterprise value.

5.       Causes of Action. Despite making diligent and reasonable efforts to identify all known
         assets, the Debtors may not have identified or set forth all of their causes of action (filed
         or potential) against third parties as assets in their Schedules and Statements, including,
         without limitation, causes of action arising under the provisions of chapter 5 of the
         Bankruptcy Code and actions under other relevant bankruptcy and non-bankruptcy laws to
         recover assets or avoid transfers. The Debtors reserve all rights with respect to any causes
         of action (including avoidance actions), controversy, right of setoff, cross claim,
         counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed
         by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
         liability, damage, judgment, account, defense, power, privilege, license, and franchise of
         any kind or character whatsoever, known, unknown, fixed or contingent, matured or
         unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
         secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
         the Petition Date, in contract or in tort, at law or in equity, or pursuant to any other theory
         (collectively, “Causes of Action”) they may have, and neither these Global Notes nor the
         Schedules and Statements shall be deemed a waiver of any claims or Causes of Action or
         in any way prejudice or impair the assertion of such claims or Causes of Action by the
         Debtors.

6.       Book Value. Except as otherwise indicated, the Debtors, have made a good faith effort to
         list assets and liabilities based on book values as of the latest close of books and records
         or, where possible, through the Petition Date. The book values of certain assets may
         materially differ from their fair market values. Certain assets that have been fully
         depreciated or that were expensed for accounting purposes either may not appear in the
         Schedules and Statements or are listed with a zero-dollar value, as such assets have no net
         book value. The omission of an asset from the Schedules and Statements does not

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         constitute a representation regarding the ownership of such asset, and any such omission
         does not constitute a waiver of any of the Debtors’ rights with respect to such asset.

7.       Classifications. Listing (a) a claim on Schedule D as “secured,” (b) a claim on Schedule
         E/F as “priority,” or (c) a claim on Schedule E/F as “unsecured,” or (d) a contract or lease
         on Schedule G as “executory” or “unexpired,” does not constitute an admission by the
         Debtors of the legal rights of the claimant or a waiver of the Debtors’ rights to re-
         characterize or reclassify such Claims, contracts, or leases or to setoff such Claims.

8.       Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in these
         chapter 11 cases (the “First Day Orders”), the Debtors were authorized (but not directed)
         to pay, among other things, certain of the Debtors’ ordinary course operational costs and
         employee compensation. Accordingly, certain liabilities may have been or may be satisfied
         in accordance with such First Day Orders and therefore, generally are not listed in the
         Schedules and Statements.

9.       Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
         postpetition periods based on the information and research that was conducted in
         connection with the preparation of the Schedules and Statements. As additional
         information becomes available and further research is conducted, the allocation of
         liabilities between prepetition and postpetition periods may change.

10.      Excluded Assets and Liabilities. The Debtors may have excluded immaterial or de minimis
         assets and liabilities.

11.      Property Rights. Exclusion of certain property from the Schedules and Statements shall
         not be construed as an admission that such property rights have been abandoned,
         terminated, assigned, expired by terms, or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. Conversely, inclusion of certain property shall not be
         construed to be an admission that such property rights have not been abandoned, have not
         been terminated, or otherwise expired by terms, or have not been assigned or otherwise
         transferred pursuant to a sale, acquisition, or other transaction.

12.      Insiders. In instances where the Schedules and Statements require information regarding
         “insiders,” the Debtors have included information with respect to the individuals or entities
         who the Debtors believe may be included in the definition of “insider” set forth in section
         101(31) of the Bankruptcy Code during the relevant time periods.

         The listing or omitting a party as an insider for purposes of the Schedules and Statements
         is for informational purposes only and is not intended to be, nor should it be, construed as
         an admission of the legal characterization of such party as an insider for purpose of section
         101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any position with
         respect to: (a) any insider’s influence over the control of the Debtors; (b) the management
         responsibilities or functions of any such insider; (c) the decision making or corporate
         authority of any such insider; or (d) whether the Debtors or any such insider could
         successfully argue that they are not an “insider” or “affiliate” under applicable law or with
         respect to any theories of liability or for any other purpose


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13.      Estimates. To prepare and file the Schedules and Statements in accordance with the
         deadline established in these chapter 11 cases, the Debtors were required to make
         reasonable estimates and assumptions with respect to the reported amounts of assets and
         liabilities, the amount of contingent assets and contingent liabilities on the date of the
         Schedules and Statement, and the reported amounts of revenues and expenses during the
         applicable reporting periods. The Debtors reserve all rights to amend, supplement, or
         otherwise modify the reported amounts of assets and liabilities to reflect changes in those
         estimates or assumptions.

14.      Fiscal Year. Each Debtor’s fiscal year ends on December 31.

15.      Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

16.      Executory Contracts and Unexpired Leases. Although the Debtors have made diligent
         attempts to properly identify executory contracts and unexpired leases, the inclusion of a
         contract or lease on Schedule G does not constitute an admission as to the executory or
         unexpired nature (or non-executory or expired nature) of any contract or lease, or an
         admission as to the existence or validity of any Claims held by any counterparty to any
         contract or lease. Furthermore, while the Debtors have made diligent attempts to properly
         identify all executory contracts and unexpired leases, inadvertent errors, omissions, or over
         inclusion may have occurred.

         Moreover, nothing in the Schedules and Statements is, or shall be construed to be, an
         admission as to the determination of the legal status of any lease or financing arrangement
         (including whether any lease or financing arrangement is a true lease, a financing
         arrangement, or a real property interest), and the Debtors reserve all rights with respect to
         such issues.

17.      Totals. All totals that are included in the Schedules and Statements represent totals of all
         known amounts. To the extent there are unknown, disputed, contingent, unliquidated, or
         otherwise Undetermined Amounts, the actual total may be different from the listed total.

18.      Unliquidated Claim Amounts. Claim amounts that could not be quantified by the Debtors
         are scheduled as “unliquidated.”

19.      Undetermined Amounts. The description of an amount as “unknown,” “disputed,”
         “contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the
         materiality of such amount.

20.      Liens. Property and equipment listed in the Schedules and Statements are presented
         without consideration of any liens that may attach (or have attached) to such property and
         equipment.

21.      Confidential Information. Pursuant to that certain Order (I) Authorizing the Debtors to
         Serve a Consolidated List of Creditors and a Consolidated List of the 30 Largest
         Unsecured Creditors, (II) Authorizing the Debtors to Redact Certain Personal
         Identification Information, (III) Approving the Form and Manner of Notifying Creditors of
         the Commencement of the Debtors’ Chapter 11 Cases, and (IV) Granting Related Relief

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         [Docket No. 70] (the “Creditor Matrix Order”), the Bankruptcy Court has authorized the
         Debtors to redact certain personally identifiable information, such as home addresses of
         individuals and the names and addresses of the Debtors’ customers. To the extent the
         Debtors believe a claim, name, address, or amount falls under the purview of the Creditor
         Matrix Order, such information is not included in the Schedules and Statements. The
         alterations or redactions, if any, are limited only to what the Debtors believe is warranted
         to comply with the Creditor Matrix Order.

22.      Setoffs. The Debtors may have incurred setoffs and net payments in the ordinary course
         of business. Such setoffs and nettings may have occurred due to a variety of transactions
         or disputes including, but not limited to, intercompany transactions, counterparty
         settlements, pricing discrepancies, rebates, returns, warranties, refunds, and negotiations
         and/or disputes between Debtors and their customers and/or vendors. Therefore, although
         such setoffs and other similar rights may have been accounted for when scheduling certain
         amounts, these ordinary course setoffs are not independently accounted for, and as such,
         are or may be excluded from the Schedules and Statements. In addition, some amounts
         listed in the Schedules and Statements may have been affected by setoffs or nettings by
         third parties of which the Debtors are not yet aware. The Debtors reserve all rights to
         challenge any setoff and/or recoupment rights that may be asserted.

23.      Cottonwood Financial Administrative Services, LLC. The Debtor Cottonwood Financial
         Administrative Services, LLC (“Cottonwood Financial”) is the contracting entity for the
         majority, if not all, of the contracts with the Debtors. To the extent a contract states that
         the party is “Cottonwood Financial,” the Debtors believe this refer to Cottonwood
         Financial Administrative Services, LLC. Additionally, although the Debtors’ employees
         are employees of a specific Debtor entity, the employee wages and benefits, including 401k
         plans are paid by and are administered through Cottonwood Financial. Cottonwood
         Financial also pays all or the majority of all of the Debtors’ respective business expenses.

                   Specific Disclosures with Respect to the Debtors’ Schedules

1.       Schedule A/B, Question 2: For purposes of these Schedules, the Debtors have listed cash
         at the Debtors’ stores on a consolidated basis for security purposes.

2.       Schedule A/B, Question 7: The Debtors believe that all posted utility deposits have either
         been refunded or applied to the Debtors’ outstanding balances, and no deposits remain.
         The Debtors reserve all rights to amend the Schedules to the extent that any deposits are
         identified that have not been refunded or applied to balances.

3.       Schedule A/B, Question 8: Prepayments represent entries from the Debtors’ prepayment
         schedules and may not necessarily represent cash paid out as of the Petition Date.

4.       Schedule A/B, Questions 64 & 77: The Debtors have certain contractual rights under the
         Brokering and Servicing Agreement with TreeMac. Funding Group, LLC (“TreeMac”).
         The Debtor Cottonwood Financial Texas, LLC (“Cottonwood Texas”) operates as a Credit
         Services Organization (“CSO”) and a licensed Credit Access Business (“CAB”) under
         Texas law. Pursuant to a Brokering and Servicing Agreement with Cottonwood Texas,


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         TreeMac is the exclusive third-party lender for loans brokered by Cottonwood Texas to
         customers. Cottonwood Texas earns fees at the time a loan is originated, paid from a
         portion of the loan proceeds, and which are remitted to Cottonwood Texas pursuant to the
         settlement process with TreeMac in the ordinary course of business. Subsequent fees,
         including fees Cottonwood Texas earns for maintaining the letter of credit during the term
         of the loan, are paid to Cottonwood Texas directly by the customer. Cottonwood Texas’s
         revenue from fees for performing its services under the Brokering and Servicing
         Agreement is scheduled at Schedule A/B question 64.

         Further, if a customer defaults on its loan agreement with TreeMac, TreeMac demands
         payment from Cottonwood Texas under the terms of its individual letter of credit. Once
         the letter of credit is called, Cottonwood Texas pays TreeMac in full on the loan.
         Cottonwood Texas is then subrogated to the rights of TreeMac in the loan, and Cottonwood
         Texas seeks reimbursement from the borrower pursuant to the credit services agreement
         by and between Cottonwood Texas and the customer. Cottonwood Texas has scheduled
         this right of collection/reimbursement from the customer at Schedule A/B question 77.

5.       Schedule D: The Debtors made reasonable, good faith efforts to include all liens on
         Schedule D, but may have inadvertently omitted an existing lien because of, among other
         things, the possibility that a lien may have been imposed after Uniform Commercial Code
         searches were performed or a vendor may not have filed the requisite perfection
         documentation. Moreover, the Debtors have not included on Schedule D parties that may
         believe their claims are secured through setoff rights or inchoate statutory lien rights.

6.       Schedule E/F, Part 1: Creditors Holding Priority Unsecured Claims. The listing of any
         claim on Schedule E/F does not constitute an admission by the Debtors that such claim is
         entitled to priority treatment under section 507 of the Bankruptcy Code. The Debtors
         reserve all rights to dispute the amount and the priority status of any claim on any basis at
         any time. All claims listed on the Debtors’ Schedule E/F are claims arising from tax
         obligations for which the Debtors may potentially be liable, and which may be subject to
         ongoing audits or other proceedings.

7.       Schedule E/F, Part 2: Creditors Holding Non-Priority Unsecured Claims. The claims
         listed in Schedule E/F arose or were incurred on various dates. In certain instances, the
         date on which a claim arose is an open issue of fact. Determining the date upon which
         each claim in Schedule E/F was incurred or arose would be unduly burdensome and cost
         prohibitive and, therefore, the Debtors do not list a date for each claim listed on
         Schedule E/F. Vendors may have invoiced the Debtors prior to the filing for postpetition
         services (i.e., annual contracts). Liabilities related to such invoices have been prorated on
         Schedule E/F to solely reflect the asserted prepetition Claim.

8.       Schedule G. Customer contracts included on Schedule G, if any, are redacted pursuant to
         the Creditor Matrix Order, which authorizes the Debtors to redact both customer names
         and addresses.




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                  Specific Disclosures with Respect to the Debtors’ Statements

1.       Statement 3. Payments to the Debtors’ bankruptcy professionals for work related to the
         bankruptcy are not included in the payments to creditors and are instead included in
         Statement 11.

2.       Statements 4 & 30. Business Payments by the Debtors to or on behalf of their respective
         insiders for expense reimbursements, including credit card vendor payments, travel, meals
         and entertainment, are included in the amounts listed in Statement 4.

         Due to the nature of the Debtors’ business operations, and the sheer number of transfers
         between and among the Debtors on a daily basis, Statement 4 does not include
         intercompany transfers between or among Debtors.

3.       Statement 7: Information is listed, to the best of the Debtors’ knowledge and information,
         regarding current, threatened, or pending litigation involving a Debtor. The Debtors pursue
         collections against customers in the ordinary course of the Debtors’ business. Such
         collection matters have not been included in these Statements.

4.       Statement 13. In the ordinary course of business, the Debtors sell defaulted customer loans
         and/or the right to collect on such loans to third-party buyers. Statement 13 lists such
         transfers to the extent applicable to each Debtor entity.

5.       Statement 17. The Debtors’ 401k plan is administered under the Debtor Cottonwood
         Financial Administrative Services, LLC.

6.       Statement 21: Pursuant to the Brokering and Servicing Agreement by and between
         Cottonwood Texas and TreeMac Cottonwood Texas brokers and assists customers in
         obtaining loans from TreeMac. Cottonwood Texas also collects payments from such
         customers on behalf of TreeMac. Cottonwood Texas and TreeMac have established a
         settlement process whereby funds collected from customers by Cottonwood Texas on
         behalf of TreeMac are remitted to TreeMac several business days after receipt. Statement
         21 shows the amount collected and held by Cottonwood Texas as of the Petition Date from
         customers between February 22 and February 25, 2024.

7.       Statement 26d: In the ordinary course of business, the Debtors regularly provide financial
         information to regulators, state and federal agencies, and brokers to assist in obtaining and
         maintaining bonds to meet certain of the Debtors’ regulatory requirements.

8.       Statement 28. Cottonwood Financial Ltd. is the sole member of Cottonwood Financial,
         Cottonwood Texas, Cottonwood Wisconsin and Cottonwood Idaho. Cottonwood
         Financial Management, Inc. is the sole general partner of Cottonwood Financial Ltd.
         Trevor Ahlberg is President and CEO of Cottonwood Financial Management, Inc.

9.       Statement 31. The Debtors’ income and expenses are consolidated and tax returns for all
         Debtor entities are filed under Cottonwood Financial Ltd.



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  Fill in this information to identify the case:
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 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:                   NORTHERN DISTRICT OF TEXAS


 Case number             24-80035
  (if known)
                                                                                                                                                                      ¨ Check if this is an
                                                                                                                                                                         amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                12/15




  Part 1:        Summary of Assets




 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


     1a.       Real property:
                                                                                                                                                                      NOT APPLICABLE
               Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1b.       Total personal property:
                                                                                                                                                                            $24,495.88
               Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .



     1c.       Total of all property:
                                                                                                                                                                            $24,495.88
               Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:         Summary of Liabilities




   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                        $26,743,881.44
        Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D . . . . . . . . .




   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)


        3a.      Total claim amounts of priority unsecured claims:
                                                                                                                                                                      NOT APPLICABLE
                 Copy the total claims from Part 1 from line 5a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .



        3b.      Total amount of claims of nonpriority amount of unsecured claims:
                 Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +     $38,162,528.33




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                        $64,906,409.77
        Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                               Page 1 of 1
                 Case 24-80035-swe11                       Doc 185 Filed 03/29/24 Entered 03/29/24 16:26:11                                           Desc
  Fill in this information to identify the case:
                                                            Main Document    Page 11 of 24
 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:       NORTHERN DISTRICT OF TEXAS


 Case number         24-80035
  (if known)
                                                                                                                                                ¨ Check if this is an
                                                                                                                                                   amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                                  12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.     DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below.


                                                                                                                                                Current value of
           All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                debtor’s interest

 2.     CASH ON HAND

        NONE


 3.     CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
        (IDENTIFY ALL)
        Name of institution (bank or brokerage firm)                        Type of account                 Last 4 digits of account number

        3.1.       BANK OF TEXAS                                            CHECKING (OPERATING)            8712                                                $6,671.18

        3.2.       PLAINSCAPITAL BANK                                       CHECKING                        6124                                              $17,774.70

        3.3.       THIRD COAST BANK                                         CHECKING                        3938                                                    $50.00

 4.     OTHER CASH EQUIVALENTS

        NONE


 5      Total of Part 1.
        ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                                          $24,495.88
        TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.     DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
        þ No. Go to Part 3.
        ¨ Yes. Fill in the information below.


                                                                                                                                                Current value of
                                                                                                                                                debtor’s interest

 7.     DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS




Official Form 206A/B                                         Schedule A/B: Assets - Real and Personal Property                                                Page 1 of 8
 Debtor         Case 24-80035-swe11
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               (Name)
                                                 Main Document    Page 12 of 24
                                                                                                                                 Current value of
                                                                                                                                 debtor’s interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT


 8.    PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
       INSURANCE, TAXES, AND RENT
       DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT


 9     Total of Part 2.
       ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                NOT APPLICABLE


 Part 3:       ACCOUNTS RECEIVABLE

 10.   DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
       þ No. Go to Part 4.
       ¨ Yes. Fill in the information below.


                                                                                                                                 Current value of
                                                                                                                                 debtor’s interest

 11.   ACCOUNTS RECEIVABLE


 12    Total of Part 3.
       CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                           NOT APPLICABLE


 Part 4:       INVESTMENTS

 13.   DOES THE DEBTOR OWN ANY INVESTMENTS?
       ¨ No. Go to Part 5.
       þ Yes. Fill in the information below.


                                                                                                         Valuation method used   Current value of
                                                                                                         for current value       debtor’s interest

 14.   MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
       NAME OF FUND OR STOCK:


 15.   NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
       UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
       OR JOINT VENTURE
       Name of entity                                                                % of ownership

       15.1.       COTTONWOOD FINANCIAL ADMINSTRATIVE SERVICES, LTD.               100%                                                        UNKNOWN

       15.2.       COTTONWOOD FINANCIAL AUSTIN CSO                                 100%                                                        UNKNOWN

       15.3.       COTTONWOOD FINANCIAL EXECUTIVE, LLC                             100%                                                        UNKNOWN

       15.4.       COTTONWOOD FINANCIAL IDAHO, LLC                                 100%                                                        UNKNOWN

       15.5.       COTTONWOOD FINANCIAL ILLINOIS, LLC                              100%                                                        UNKNOWN

       15.6.       COTTONWOOD FINANCIAL INVESTMENTS, LLC                           100%                                                        UNKNOWN

       15.7.       COTTONWOOD FINANCIAL MICHIGAN, LLC                              100%                                                        UNKNOWN

       15.8.       COTTONWOOD FINANCIAL NEW MEXICO, LLC                            100%                                                        UNKNOWN

       15.9.       COTTONWOOD FINANCIAL TEXAS, LLC                                 100%                                                        UNKNOWN

       15.10.      COTTONWOOD FINANCIAL UTAH, LLC                                  100%                                                        UNKNOWN

       15.11.      COTTONWOOD FINANCIAL WISCONSIN, LLC                             100%                                                        UNKNOWN

 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1




Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                                          Page 2 of 8
 Debtor        Case 24-80035-swe11
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              (Name)
                                                        Main Document    Page 13 of 24
                                                                                                                 Valuation method used         Current value of
                                                                                                                 for current value             debtor’s interest

 16.   GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
       NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
       DESCRIBE:


 17    Total of Part 4.
       ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                                               UNDETERMINED


 Part 5:      INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18.   DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
       þ No. Go to Part 6.
       ¨ Yes. Fill in the information below.


                                                              Date of the last         Net book value of         Valuation method used         Current value of
           General description
                                                              physical inventory       debtor's interest         for current value             debtor’s interest
                                                                                       (Where available)

 19.   RAW MATERIALS


 20.   WORK IN PROGRESS


 21.   FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE


 22.   OTHER INVENTORY OR SUPPLIES


 23    Total of Part 5.
       ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                               NOT APPLICABLE

 24.   Is any of the property listed in Part 5 perishable?
       þ No
       ¨ Yes

 25.   Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes        Book value                         Valuation method                                                                  Current value

 26.   Has any of the property listed in Part 5 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 6:      FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27.   DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
       LAND)?
       þ No. Go to Part 7.
       ¨ Yes. Fill in the information below.

                                                                                       Net book value of         Valuation method used         Current value of
           General description
                                                                                       debtor's interest         for current value             debtor’s interest
                                                                                       (Where available)

 28.   CROPS—EITHER PLANTED OR HARVESTED


 29.   FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
       LIVESTOCK, POULTRY, FARM-RAISED FISH


 30.   FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
       THAN TITLED MOTOR VEHICLES)


 31.   FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED




Official Form 206A/B                                         Schedule A/B: Assets - Real and Personal Property                                                Page 3 of 8
 Debtor        Case 24-80035-swe11
              COTTONWOOD FINANCIAL LTD.                Doc 185 Filed 03/29/24CaseEntered
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              (Name)
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                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 32.   OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6


 33    Total of Part 6.
       ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                     NOT APPLICABLE

 34.   Is the debtor a member of an agricultural cooperative?
       þ No
       ¨ Yes. Is any of the debtor’s property stored at the cooperative ?
             ¨ No
             ¨ Yes

 35.   Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       þ No
       ¨ Yes

 36.   Is a depreciation schedule available for any of the property listed in Part 6?
       þ No
       ¨ Yes

 37.   Has any of the property listed in Part 6 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 7:      OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38.   DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
       þ No. Go to Part 8.
       ¨ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 39.   OFFICE FURNITURE


 40.   OFFICE FIXTURES


 41.   OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
       SYSTEMS EQUIPMENT AND SOFTWARE


 42.   COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR OTHER
       ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND CRYSTAL; STAMP,
       COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS, MEMORABILIA, OR
       COLLECTIBLES


 43    Total of Part 7.
       ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                     NOT APPLICABLE


 44.   Is a depreciation schedule available for any of the property listed in Part 7?
       þ No
       ¨ Yes

 45.   Has any of the property listed in Part 7 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 8:      MACHINERY, EQUIPMENT, AND VEHICLES

 46.   DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
       þ No. Go to Part 9.
       ¨ Yes. Fill in the information below.




Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                           Page 4 of 8
 Debtor        Case 24-80035-swe11
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                                                                                                            (if known)                       Desc
               (Name)
                                                           Main Document    Page 15 of 24
           General description                                                          Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers (i.e., VIN,            debtor's interest       for current value       debtor’s interest
           HIN, or N-number)                                                            (Where available)


 47.   AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
       VEHICLES


 48.   WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
       TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
       VESSELS


 49.   AIRCRAFT AND ACCESSORIES


 50.   OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
       EQUIPMENT)


 51    Total of Part 8.
       ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                     NOT APPLICABLE


 52.   Is a depreciation schedule available for any of the property listed in Part 8?
       þ No
       ¨ Yes

 53.   Has any of the property listed in Part 8 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 9:       REAL PROPERTY

 54.   DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
       þ No. Go to Part 10.
       ¨ Yes. Fill in the information below.

 55.   ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


                                                              Nature and extent         Net book value of       Valuation method used   Current value of
           Description and location of property
           Include street address or other description        of debtor’s               debtor's interest       for current value       debtor’s interest
           such as Assessor Parcel Number (APN), and          interest in               (Where available)
           type of property (for example, acreage,            property
           factory, warehouse, apartment or office
           building), if available



 56    Total of Part 9.
       ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                                   NOT APPLICABLE
       ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57.   Is a depreciation schedule available for any of the property listed in Part 9?
       þ No
       ¨ Yes

 58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 10:      INTANGIBLES AND INTELLECTUAL PROPERTY

 59.   DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
       ¨ No. Go to Part 11.
       þ Yes. Fill in the information below.


                                                                                        Net book value of       Valuation method used   Current value of
           General description
                                                                                        debtor's interest       for current value       debtor’s interest
                                                                                        (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.1.       TRADEMARK FOR $!; REGISTRATION NO. 2461638                                 UNDETERMINED                                      UNDETERMINED



Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                         Page 5 of 8
 Debtor         Case 24-80035-swe11
               COTTONWOOD FINANCIAL LTD.               Doc 185 Filed 03/29/24CaseEntered
                                                                                 number  03/29/24
                                                                                            24-80035 16:26:11(if known)                         Desc
               (Name)
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                                                                                      Net book value of          Valuation method used     Current value of
          General description
                                                                                      debtor's interest          for current value         debtor’s interest
                                                                                      (Where available)

 60.   PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS

       60.2.       TRADEMARK FOR CASH ASAP; REGISTRATION NO.                                UNDETERMINED                                           UNDETERMINED
                   2889456

       60.3.       TRADEMARK FOR CASH STORE CASH & TITLE LOANS;                             UNDETERMINED                                           UNDETERMINED
                   REGISTRATION NO. 4461158

       60.4.       TRADEMARK FOR CASH STORE TITLE LOANS & CASH                              UNDETERMINED                                           UNDETERMINED
                   ADVANCES; REGISTRATION NO. 4461159

       60.5.       TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   2969462

       60.6.       TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   3542978

       60.7.       TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   3546856

       60.8.       TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   3546857

       60.9.       TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   3546858

       60.10.      TRADEMARK FOR CASH STORE; REGISTRATION NO.                               UNDETERMINED                                           UNDETERMINED
                   3637952

       60.11.      TRADEMARK FOR CASHSTORE.COM; REGISTRATION                                UNDETERMINED                                           UNDETERMINED
                   NO. 3896180

       60.12.      TRADEMARK FOR THE CASH STORE; REGISTRATION                               UNDETERMINED                                           UNDETERMINED
                   NO. 2270955

       60.13.      TRADEMARK FOR THE CASH STORE; REGISTRATION                               UNDETERMINED                                           UNDETERMINED
                   NO. 2461639

       60.14.      TRADEMARK FOR YOU'RE CASHWORTHY AT THE CASH                              UNDETERMINED                                           UNDETERMINED
                   STORE; REGISTRATION NO. 2576147

       60.15.      TRADEMARK FOR YOU'RE CASHWORTHY WITH US;                                 UNDETERMINED                                           UNDETERMINED
                   REGISTRATION NO. 2576104


 61.   INTERNET DOMAIN NAMES AND WEBSITES


 62.   LICENSES, FRANCHISES, AND ROYALTIES


 63.   CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS


 64.   OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY


 65.   GOODWILL


 66    Total of Part 10.
       ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                                         UNDETERMINED


 67.   Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107) ?
       þ No
       ¨ Yes

 68.   Is there an amortization or other similar schedule available for any of the property listed in Part 10?
       þ No
       ¨ Yes

 69.   Has any of the property listed in Part 10 been appraised by a professional within the last year?
       þ No
       ¨ Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                               Page 6 of 8
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                                                                                  number  03/29/24
                                                                                             24-80035 16:26:11
                                                                                                           (if known)                          Desc
               (Name)
                                                         Main Document    Page 17 of 24
 Part 11:      ALL OTHER ASSETS

 70.   DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
       INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨ No. Go to Part 12.
       þ Yes. Fill in the information below.

                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest

 71.   NOTES RECEIVABLE
       DESCRIPTION (INCLUDE NAME OF OBLIGOR)


 72.   TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
       DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)


 73.   INTERESTS IN INSURANCE POLICIES OR ANNUITIES

       73.1.       AUTOMOBILE - MSIG SPECIALTY INSURANCE COMPANY USA INC. - POLICY NO. HNO1000257-01                                              UNDETERMINED

       73.2.       GENERAL LIABILITY - THE BURLINGTON INSURANCE COMPANY - POLICY NO. 820BG08548                                                   UNDETERMINED

       73.3.       PROPERTY - THE NORTH RIVER INSURANCE COMPANY - POLICY NO. 3231034839                                                           UNDETERMINED

       73.4.       UMBRELLA LIABILITY - FEDERAL INSURANCE COMPANY - POLICY NO. 78198991                                                           UNDETERMINED

       73.5.       WORKERS COMPENSATION - ARGONAUT INSURANCE COMPANY - POLICY NO. 92-904-838268-4                                                 UNDETERMINED

       73.6.       WORKERS COMPENSATION - TEXAS MUTUAL WORKERS' COMPENSATION INSURANCE - POLICY NO.                                               UNDETERMINED
                   12306660

 74.   CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
       BEEN FILED)


 75.   OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
       NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
       CLAIMS


 76.   TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY


 77.   OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
       COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
       MEMBERSHIP


 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                        UNDETERMINED


 79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
       þ No
       ¨ Yes
 Part 12:      Summary


 In Part 12 copy all of the totals from the earlier parts of the form.



          Type of property                                                         Current value of               Current value of real
                                                                                   personal property              property

 80.   Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                   $24,495.88


 81.   Deposits and prepayments. Copy line 9, Part 2.


 82.   Accounts receivable. Copy line 12, Part 3.


 83.   Investments. Copy line 17, Part 4.                                            UNDETERMINED




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                            Page 7 of 8
 Debtor        Case 24-80035-swe11
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              (Name)
                                                                        Main Document    Page 18 of 24
 84.   Inventory. Copy line 23, Part 5.


 85.   Farming and fishing-related assets. Copy line 33, Part 6.


 86.   Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.

 87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.   Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è                               N/A


 89.   Intangibles and intellectual property. Copy line 66, Part 10.                                            UNDETERMINED


 90.   All other assets. Copy line 78, Part 11.                                                                 UNDETERMINED
                                                                                                     +

 91.   Total. Add lines 80 through 90 for each column . . . . . . . . . 91a.                                             $24,495.88    + 91b.                    N/A




 92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $24,495.88




Official Form 206A/B                                                      Schedule A/B: Assets - Real and Personal Property                                                   Page 8 of 8
                 Case 24-80035-swe11                       Doc 185 Filed 03/29/24 Entered 03/29/24 16:26:11                                                Desc
  Fill in this information to identify the case:
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 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:     NORTHERN DISTRICT OF TEXAS


 Case number          24-80035
  (if known)
                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                      amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15

 Be as complete and accurate as possible.

 1.     1.     Do any creditors have claims secured by debtor’s property?
        ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules . Debtor has nothing else to report on this form.
        þ Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

                                                                                                                      Column A                     Column B
 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than
        one secured claim, list the creditor separately for each claim.                                               Amount of claim              Value of collateral that
                                                                                                                      Do not deduct the value of   supports this claim
                                                                                                                      collateral.

 2.1            Creditor’s name                                       Describe debtor’s property that is                         $26,743,881.44            UNKNOWN
                THIRD COAST BANK                                      subject to a lien
                                                                      ALL ASSETS
                Creditor's mailing address
                20202 HIGHWAY 59 N                                    Describe the lien
                SUITE 190                                             FIRST LIEN LOAN FACILITY
                HUMBLE, TEXAS 77338
                                                                      Is the creditor an insider or related
                USA
                                                                      party?
                Creditor's email address                              þ No
                DDIENES@THIRDCOASTSSB.COM                             ¨ Yes
                Date or dates debt was incurred                       Is anyone else liable on this claim?
                12/9/2020                                             ¨ No
                                                                      þ Yes
                Last 4 digits of account number: 5303
                                                                      As of the petition filing date, the claim is:
                Do multiple creditors have an interest in the         Check all that apply.
                same property?                                        ¨ Contingent
                þ No                                                  ¨ Unliquidated
                ¨ Yes                                                 ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                                      $26,743,881.44
          Additional Page, if any.




Official Form 206D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 1
                 Case 24-80035-swe11                     Doc 185 Filed 03/29/24 Entered 03/29/24 16:26:11                                                  Desc
  Fill in this information to identify the case:
                                                          Main Document    Page 20 of 24
 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS


 Case number         24-80035
  (if known)
                                                                                                                                                      ¨ Check if this is an
                                                                                                                                                         amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.



  Part 1:       List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        þ No. Go to Part 2.
        ¨ Yes. Go to line 2.
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims



        Do any creditors have nonpriority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No.
        þ Yes.

 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                                        Amount of claim

 3.1            Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                            $38,162,528.33
                                                                                      Check all that apply.
                BOMANI BUSINESS LENDING, LLC
                C/O WICK PHILLIPS                                                     ¨ Contingent
                ATTN: JASON RUDD & CATHERINE CURTIS                                   ¨ Unliquidated
                3131 MCKINNEY AVENUE, SUITE 500                                       ¨ Disputed
                DALLAS, TX 75204                                                      Basis for the claim:
                Date or dates debt was incurred                                       SUBORDINATED NOTE
                                                                                      Is the claim subject to offset?
                Last 4 digits of account number:                                      þ No
                                                                                      ¨ Yes

 3.2            Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:                                UNKNOWN
                                                                                      Check all that apply.
                NAME AND ADDRESS REDACTED
                                                                                      þ Contingent
                Date or dates debt was incurred                                       þ Unliquidated
                                                                                      þ Disputed
                Last 4 digits of account number:
                                                                                      Basis for the claim:
                                                                                      CONSUMER CLAIM, US DISTRICT COURT OF
                                                                                      COLUMBIA - CASE NO. 1:23-CV-00571
                                                                                      Is the claim subject to offset?
                                                                                      þ No
                                                                                      ¨ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 1 of 2
 Debtor      Case 24-80035-swe11
            COTTONWOOD FINANCIAL LTD.                  Doc 185 Filed 03/29/24CaseEntered
                                                                                 number  03/29/24
                                                                                            24-80035 16:26:11
                                                                                                           (if known)                                Desc
            (Name)
                                                        Main Document    Page 21 of 24
  Part 2:   Additional Page

                                                                                                                                                  Amount of claim

 3.3        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                                UNKNOWN
                                                                                Check all that apply.
            NAME AND ADDRESS REDACTED
                                                                                þ Contingent
            Date or dates debt was incurred                                     þ Unliquidated
                                                                                þ Disputed
            Last 4 digits of account number:
                                                                                Basis for the claim:
                                                                                CONSUMER CLAIM, WISCONSIN WAUPACA
                                                                                COUNTY CIRCUIT COURT - CASE NO.
                                                                                2022CV000278
                                                                                Is the claim subject to offset?
                                                                                þ No
                                                                                ¨ Yes

 3.4        Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:                                UNKNOWN
                                                                                Check all that apply.
            NAME AND ADDRESS REDACTED
                                                                                þ Contingent
            Date or dates debt was incurred                                     þ Unliquidated
                                                                                þ Disputed
            Last 4 digits of account number:
                                                                                Basis for the claim:
                                                                                CONSUMER CLAIM, WISCONSIN MILWAUKEE
                                                                                COUNTY CIRCUIT COURT - CASE NO.
                                                                                19-SC-49193
                                                                                Is the claim subject to offset?
                                                                                þ No
                                                                                ¨ Yes




  Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims




 5.    Add the amounts of priority and nonpriority unsecured claims.



                                                                                                                                    Total of claim amounts



 5a.   Total claims from Part 1                                                                                         5a.                    NOT APPLICABLE




 5b.   Total claims from Part 2                                                                                         5b.     +                  $38,162,528.33




 5c.   Total of Parts 1 and 2                                                                                           5c.                        $38,162,528.33
       Lines 5a + 5b = 5c.




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
                 Case 24-80035-swe11                      Doc 185 Filed 03/29/24 Entered 03/29/24 16:26:11                                                 Desc
  Fill in this information to identify the case:
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 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS


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  (if known)
                                                                                                                                                     ¨ Check if this is an
                                                                                                                                                        amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
        ¨ No. Check this box and file this form with the court with the debtor’s other schedules . There is nothing else to report on this form.
        þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
               Form 206A/B).

 2.     List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                                whom the debtor has an executory contract or unexpired lease


 2.1            State what the contract       MULTI-USER SOFTWARE LICENSE AND                     ACCELERATED DATA SYSTEMS INC
                or lease is for and the       SUPPORT AGREEMENT                                   5750 DTC PARKWAY
                nature of the debtor’s                                                            STE 145
                interest                                                                          GREENWOOD VILLAGE, CO 80111

                State the term remaining      3/17/2024

                List the contract number
                of any government
                contract

 2.2            State what the contract       FIRE-LIFE SAFETY SERVICES                           COMMERCIAL FIRE LLC
                or lease is for and the       AGREEMENT 12-01-2020                                2465 ST JOHNS BLUFF RD S
                nature of the debtor’s                                                            JACKSONVILLE, FL 32246
                interest

                State the term remaining      12/1/2024

                List the contract number
                of any government
                contract

 2.3            State what the contract       CORPORATE PARTNER PROGRAM                           EAN SERVICES LLC
                or lease is for and the       AGREEMENT                                           600 CORPORATE PARK DR
                nature of the debtor’s                                                            SAINT LOUIS, MO 63105-4204
                interest

                State the term remaining      CURRENT

                List the contract number
                of any government
                contract

 2.4            State what the contract       SERVICE ORDER AND AGREEMENT                         SWIFTREACH NETWORKS INC
                or lease is for and the                                                           492 OLD CONNECTICUT PATH
                nature of the debtor’s                                                            2ND FLOOR
                interest                                                                          FRAMINGHAM, MA 01701

                State the term remaining      CURRENT

                List the contract number
                of any government
                contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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  Fill in this information to identify the case:
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 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS


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  (if known)
                                                                                                                                                        ¨ Check if this is an
                                                                                                                                                              amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                       Column 2: Creditor
                                                                                                                                                              Check all schedules
                Name                               Mailing Address                                                 Name
                                                                                                                                                              that apply

 2.1            COTTONWOOD FINANCIAL               2100 W. WALNUT HILL LANE                                        THIRD COAST BANK                           þ D
                ADMINISTRATIVE SERVICE             SUITE 300                                                                                                  ¨ E/F
                LLC                                IRVING, TX 75038                                                                                           ¨ G

 2.2            COTTONWOOD FINANCIAL               2100 W. WALNUT HILL LANE                                        THIRD COAST BANK                           þ D
                TEXAS LLC                          SUITE 300                                                                                                  ¨ E/F
                                                   IRVING, TX 75038                                                                                           ¨ G




Official Form 206H                                                          Schedule H: Codebtors                                                                        Page 1 of 1
                 Case 24-80035-swe11                       Doc 185 Filed 03/29/24 Entered 03/29/24 16:26:11                                         Desc
  Fill in this information to identify the case:
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 Debtor        COTTONWOOD FINANCIAL LTD.


 United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS


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  (if known)




 Official Form 202

 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
 the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.


                Delcaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.



           Executed on 03/29/2024
                           MM / DD / YYYY
                                                                 û      /s/ KAREN G. NICOLAOU
                                                                        Signature of individual signing on behalf of debtor



                                                                        KAREN G. NICOLAOU
                                                                        Printed name



                                                                        CHIEF RESTRUCTURING OFFICER
                                                                        Position or relationship to debtor




Official Form 202                                     Declaration Under Penalty of Perjury for Non-Individual Debtors
